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VOLUME 1
PAGES: 1-148
EXHIBITS: 1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS
No. 1:17-cv-10661-GAO

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JUANA BAEZ, Individually and on behalf of
all others similarly situated, et al.

Plaintiffs,
vs

TOWN OF BROOKLINE, MASSACHUSETTS BROOKLINE
POLICE COMMISSIONERS, et al.

Defendants.
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(Full caption on next page)

VIDEOCONFERENCE DEPOSITION OF ISA EBOWE
Friday, April 17, 2020
9:57 a.m. - 1:20 p.m.

Shannon M. Crowley, RPR, CSR
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

No. 1:17-cv-10661-GAO

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JUANA BAEZ, Individually and on behalf of

all others similarly situated,

JOSE ALBERTO NUNEZ-GUERRERO, Individually and
on behalf of all others similarly situated,
CRUZ SANABRIA, Individually and on behalf of
all others similarly situated,

ROGELIO RODAS, Individually and on behalf of
all others similarly situated,

DEMETRIUS OVIEDO, Individually and on behalf of
all others similarly situated,
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Plaintiffs,
10
vs
11
TOWN OF BROOKLINE, MASSACHUSETTS BROOKLINE
12 POLICE COMMISSIONERS, NEIL WISHINSKY, In his
Individual and Official Capacities,
13 NANCY DALY, In her Individual and Official
Capacities,
14 BEN FRANCO, In his Individual and Official
Capacities,
15 NANCY HELLER, In her Individual and Official

Capacities,
16 BERNARD GREENE, In his Individual and Official
Capacities,
17
Defendants.
18 KKEKKKKKKKKEKKEKE KEKE KKK KKKEKKKKKKKKEKKAKEKKEK
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0003
1 APPEARANCES
2
3 (Counsel, witness, and court reporter appeared
remotely)
4
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17 Mdowney@brooklinema.gov
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15 *Exhibit Electronically attached to the
16 transcript.*
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2 PROCEEDINGS
3 9:57 a.m.
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7
8 THE COURT REPORTER: The attorneys
9 participating in this deposition acknowledge
10 and stipulate that I will be administering the
11 oath and reporting this deposition remotely.
12 Do you agree?
13 MR. PADOLSKY: Yes.
14 MR. AMES: Yes.
15 MR. DOWNEY: Yes.
16
17
18
19 ISA EBOWE, having first been
20 satisfactorily identified and duly sworn by the
21 Notary Public, was examined and testified as
22 follows:
23
24
0006

1 EXAMINATION BY MR. AMES:
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A. Yes. Good morning.

MR. AMES: Before I get started,
Joe, can we agree to the same stipulations as
in the Franco deposition?

MR. PADOLSKY: Yes. Why don't you
State them for the record just because it has
been a little while.

MR. AMES: Sure. No objections,
except as to form. Motions to strike will be
reserved until the time of trial.

The deponent will have an
opportunity to read the deposition and prepare
an errata, if there are errata - if there are
mistakes that he identifies in the deposition
transcript.

We would waive the requirement -
any requirements of notarization. Typically
it's 30 days to read and sign.

But if Mr. Ebowe requires more
time, we would extend that time. And just
because Mr. Ebowe is not represented by counsel
in this deposition, I'll just explain that an

errata is basically a sheet of paper that you
can fill out if you find that the stenographer
may have misinterpreted something you said or,
you know, confused a yes for a no or gotten a
word wrong. That's your opportunity.

So that's just part of the process.
Do you understand?

THE WITNESS: Yes.
BY MR. AMES:

Q. So I typically give a few ground
rules at a deposition. And I think they're
particularly important since we're all in
different locations.

The most important one is please
allow me to finish my question before you begin

answering, okay. Yes?
A. Yes.
Q. And also, and this can be awkward,

but also in an ordinary conversation you would
often respond by nodding or shaking your head
or just saying uh-huh.

In a deposition, in order for us to
get a clean record, for the stenographer to get
a clean record, you have to respond verbally

with a yes or a no or whatever the answer may
be. Do you understand?

A. Yes.

Q. And if in the course of the
deposition you don't understand a question I
ask, please, please let me know, and I will try
to frame it or rephrase it in a way that you
can understand, okay?
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Q. All right. What is your full name?

A. So my first name is Isa. My last
name is pronounced Ebowe, so we have to correct
that.

Q. And how - thank you. How do you
spell your last name?

A. It is E-B-O-W-E.

Q. Pronounced Hbowe?

A, Like you would pronounce ebony.

Q. Ebowe?

A. It's like ebony. If you were to

pronounce it in the English way, it would be
E-B-O-N-Y is how you pronounce it.

Q. Thank you. And how old are you,
Mr. Ebowe?

A, Ebowe.

Q. Ebowe.

A. Like Ebony and Ivory.

Q. Thank you. How old are you,
Mr. Ebowe?

A. So I'll be 51 this year.

Q. You are 51 or you will be 51?

A. I was born in '68. No. I'm sorry.
52.

Q. What month in '68?

A. May.

Q. And where were you born, Mr. Ebowe?

A. I was originally born in Benin.

Q. Benin?

A. B-E-N-I-N.

Q. How long have you lived in the United
States?

A. I would put it at, I would say, about
27 years, approximately.

Q. How old were you when you came to the
United States?

A. I came here when I was - precisely
when I was 23.

Q. 23?

A. Yes.

Q. Are you a United States citizen?

A. Yes.

Q. When did you become a citizen?

A. I became a U.S. citizen in 2003.

Q. What is your educational background?

A. My educational background is I went

to the University of Massachusetts. My
background is in business management, but my
concentration is information systems.

Q. And when did you graduate?

A. I graduated that same year, 2003.

QO. What have you done for work since
2003?

A. I've always worked in the field of
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developmental disability, but I also runa
nonprofit which is called Generis International
where we work with children that were orphaned
due to crisis.

Q. Can you spell that, Generis?

A. Yes. G-E-N-E-R-I-S.

Q. How long have you been running that
nonprofit?

A. Since 2008.

Q. And do you have a family?

A. Yes, I do.

Q. Who's in your family?

A. I have a wife and a son. My wife's
name is Jacqueline, and my son's name is
Dustin.

Q. How old is your son?

A. My son is 16.

Q. 16?

A. Correct.

Q. I'm sorry.

A. 16.

Q. I have a 16-year-old daughter.

A. Okay.

Q. Not always easy.

A. Yes. I know.

Q. I'm going to ask you about July 7,
2016. Does that day stand out to you?

A. Yes.

Q. Can you tell me how you were employed
on July 7, 2016?

A. On July 7, 2016, I was working for

Jewish Family and Children Services.

Q. And what is Jewish Family and
Children Services?
A. Jewish Family and Children Services

is a charity organization that works really
with different charities, but the department I
worked at we were working with people with
developmental disabilities.

Q. And what were you doing on July 7th,
2016?

A. On that day I took my client shopping
at Walgreens in Brookline.

Q. And when you say "client," what does
that mean?

A. These are individuals with

developmental disability that were directly
under my care. And I assisted them with, you
know, shopping, doctor's appointments, getting
them services they need.

I also assisted them with, you know,
administering medications, you know, banking,
and their basic needs here.

Q. And what was the purpose of taking
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A. That was - we went there so that he

could shop for the week.

Q. Which Walgreens did you go to?

A. It was in Brookline. I really don't
have the name of the street right now. I can
reference if I have to, but I don't --

Q. That's okay. And how did you go to
Walgreens?

A. We drove.

Q. In whose car?

A. My car.

Q. What kind of car were you driving?

A. At that time I was driving a Nissan
LEAF.

Q. Do you recall around what time you

went to Walgreens?

. It would have been about - it would
have been 3:30, something like that.

In the afternoon?

In the afternoon, yeah.

Was it light out?

It was light out, yes.

What happened when you got to

He

0 PO PO

Walgreens?
A, Usually when I drove my client, I

give him an hour to shop. And within that
hour, if I have work to do, I just focus on the
work.

Sometimes when I have free time, I
will take a walk. So when I dropped him off, I
did - I went through the same routine. I
completed my work in the car, and then took a
walk in the neighborhood.

Q. When you say you completed your work
in the car, what does that mean?
A. That would be if I have some

paperwork to complete related to my work. So
what I do is I just get that for the week, and
then if I have some free time I get all that
work done before I get back to the office.

Q. And had you done this before?

A. Oh, yes. This was a routine work for
me.

Q. You had been to this Walgreens
before?

A. Yes.

Q. And had you taken a walk while your
client was shopping before?

A. Yes.

Q. Was there anything different about
your walk on this occasion than ordinary?

A. No.

QO. And tell me what your walk consisted
FOU WMAIHDAO PB WN

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A. What I did, I walked - I just walked
around the neighborhood. I begin - I would
have to look at the street.

I would give myself about, you know,
a good 25 to 30 minutes' walk when I can.
Again, that depends on how free I am at that
time. So I walked around the neighborhood, you
know, and came back to the parking lot.

Q. And what happened when you came back
to the parking lot?
A. When I came back to the parking lot,

I noticed my client was not out of Walgreens,
so which indicated he was still shopping.

So I decide to stand - to wait for
him beneath a tree that was in the parking lot.
Then I had my phone with me, and I was reading
the news on my phone.

Q. And what happened next?
A. Yes. So then I noticed - I realized

I had the precision screwdrivers I bought a day
before, and it was in my trunk.

I thought I should put it in front of
my car that way I would remember to bring in -
bring the screwdriver with me to the house when
I returned back home.

So what I did, I went into my trunk.
I clicked the - I opened the trunk with my
key - my fob key and took out the screwdriver.

And I went around my car towards the
driver's side, opened the front door, and threw
it - and tossed the screwdriver into my front
seat.

Q. Did you say "fob key"?

A. Yes. The fobs, yes. That is
correct.

Q. Does it make a noise?

A. It does.

Q. Did it make a noise when you opened
the trunk?

A. Yes. It makes noise and the light
also kind of shows up.

Q. What is the noise that it makes?

A. It's going to go click. It's a

typical click noise, you know, when you open
your car. It's automatic door, so it make that
click noise and then flashes.

Q. What happened after you put the
screwdrivers in the car?
A. So when I put the screwdrivers in the

car, and then I closed my door. And when I
turn around to leave, there was a police
officer standing right behind me.

Q. How close was he?

A. I would put him, I would say, an
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Q. And how was he dressed?

A. He was dressed in the police uniform.

Q. Was that the first time you had
noticed that there was a police officer in your
vicinity?

A. Yes. Practically, yes.

Q. And what happened after you noticed
the police officer?

A, So what happened when I noted - it

wasn't surprising to me that, you know, there
is an officer in the vicinity. Just he looked
so serious and had his hand on his gun.

That was what got my attention when I
found there was a police officer close to my
car.

Q. And what happened next?

A. So he confronted me and asked me to
put up my hands, and I did immediately. So lI
asked him what was going on, and I said, You
got the wrong guy. And he commanded me not to
Say anything. Said, Be quiet.

Q. After he asked you to put your hands
up and you complied and he asked you to be
quiet, what happened next?

A. So I knew I had to - again, this guy
looks very different. He was just too serious,
and I was afraid he was going to shoot me if I
made any mistake.

Q. At that point had he told you why he
was stopping you?

A. No, he did not.

Q. What happened next?

A. So he asked me to move and moved me

towards the tree. To the right side of the
parking lot there were trees, and so he
followed me behind.

When we got there, he asked me to lie
down on the floor, spread eagle, face down.

Q. Were you still - where he asked you
to lie down, was that on the pavement?
A. Yes. It was on the pavement, yeah.

Now, one additional information. I still had
my cell phone in my right hand, you know, the
one I was using earlier to read the news. So I
laid down, spread eagle, with my cell phone
facing down.

Q. Did he tell you why he was asking you
to move from where he confronted you?
A. No. There was no information of what

was going - what was going on as far as the
activities here.

Q. What happened after you got down on
the pavement spread eagle?

A. So the next thing I noticed the
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so that really freaked me out.

Q. And where on your back was his boot?

A. Between my neck and my lower - upper
back, right on my spine right there.

Q. What happened next?

A. So then - so now this time I was

very, very - because I didn't know what was
going on. And he went - you know, took the
phone from my hand, and threw it to the side.

Q. What did he do after - what happened
after he threw your phone?
A. So then I noticed other police

officers in the parking lot. I could see them
from - he is speaking towards my right-hand
side, you know, from his boot looking at the
car. And I yelled out, I said, You got the
wrong guy.

Q. Were the other police officers in
uniform?

A. Yes. Everyone was in uniform. At
least the ones I saw were in uniform.

Q. Were they in their police cars?

A. I couldn't see the police car at that
time, because I was laying down. So I could

just see other police officer, because I knew
it was more than one police officer because I
could see them at that time.

Q. And when you said, You got the wrong
guy, did anybody respond to you?

A. I was talking to the officer that had
his boot on my back. I Said, You got the wrong
guy. So he pressed - he pushed more pressure
on my back. That was what I noticed, so.

Q. Was it painful?
A. Of course, yes. Yes, it was painful.
Q. Did the other officers other than the

officer who was putting his boot on your back,
did they say anything in that moment?

A. Yes. I could see one of the officers
by my car, and they said, you know, Who is the
owner of this car? So I said, That is my car.

You know, and the officer asked me
what my name was. No, sorry. Said, Who is
Isa, or something to that extent.

And I said, It's me. That is my car.
That was my answer. You know, it was all very
confusing at that time.

Q. How far away was your car?

A. I would say we would have walked
across the - I'm not very good with distance,
but it would have been - you know, I would put
it kind of it would be two cars away, if there
were cars parking, something to that nature.
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away?

A. Yeah, yeah, so we went across the
road to where that happened.

Q. What happened next?

A. Now, when I established it was my

car, and I think the officer was - said, you
know, to the effect that, You're from Kingston?
I said, Yes. What are you doing here?

I did say I drove my - I work in this
area, and I drove my client to the store. So
we had the communication to that effect with
the officer that was standing by my car.

Q. And that's not the officer who had
his boot on your neck?
A. No. The one that had his boot on my

back was determined to - he still had his boot
on my back. He still had his hand to his gun.

So when I said to the effect - again,
I said, You got the wrong guy. I was thinking
they were after somebody that looks like me.

Then he ease his boot off my back and
asked to the effect, Do you have some ID on
you?

Q. So the person who asked you if you
had some ID on you was the officer who had
initially confronted you?

A. Yes, yes.

Q. And the officer who asked you, Who is
Isa, and you told him that it was your car,
that was a separate officer?

A. That was a separate officer, correct,
yes.

Q. And what happened after you were
asked if you had some ID on you?

A. So he took his boot off my back and

asked me to sit up. He still had his hand on
his gun.

So I sat up sitting down on the
floor. I told him I'm going to reach into my
pocket and bring out my wallet.

And he asked me to go ahead. So lI
put my hand in my pocket. I pulled the wallet
out slowly.

I showed him every step of the way
and say, It's a wallet, see. It's a black
wallet, and I'm going to bring it out.

So when I pull it out, I showed him

again it is just a wallet. Look at it, it's my
wallet.
I did that three times. Then at that
time my wallet was out of my pocket.
Q. And what happened then with your
wallet?
A. So I said, I'm going to open my
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wallet, and I brought out my driver's licence.

Q. Is that the same license you showed
the court reporter earlier?

A. Yes.

Q. And what happened after you brought
out your driver's license?

A. I handed it to the police officer.

Q. The officer who confronted you
originally?

A. Yeah.

Q. What happened next?

A. So he looked at it. And, you know,

it had been established it was me. So he
helped me up off the floor.

Q. He helped you off the floor?

A. The detective grabbed onto my hand

and then I got up off the floor.

Q. And then what happened?

A Then he said, I hope you understand.
Q. And did you respond?

A Yes. I said, I don't understand.

I've never been roughed up by a police officer
before. I do not understand.

Q. And was there - did he say anything
more or did anybody say anything more?
A. No. Nobody said anything. Just he

Said it again, I hope you understand. I said,
No, sir, I do not understand.

So then he spoke on his phone that he
had on his shoulder, his mic thing there, to
the effect that he needed to put in a report,
and he gave me his card if I have any
questions, and he left.

Q. How did you feel at that point?

A. I was scared and humiliated at the
same time.

Q. What was your physical condition?

A. I just - my back was hurting. And I

have to call work immediately to let them know
what happened. And I also called my wife to

tell her what was going on.
Q. Who did you speak to at your work?
A. I think I spoke to my immediate
supervisor. Her name was Terry. I forget her
last name, but I can look that up.
A man or a woman?
It was a lady.
Named Terry?
Yes.
And she was your supervisor?
Was my supervisor at the time,

correct.

0 0 Po PO PO

And did you give her an account of
what had happened to you?
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Q. And did she say anything other than
to take your report?
A. Yes. She asked me some questions

about, you know, my client. I told her the
client was still in the store, and he did not
witness any of the interaction with the police.

Q. And how did that conversation
conclude?
A. I just said if I - I concluded that I

- if I needed to go home, whatever I need to
help myself, I should do it. She also offered
to come in and pick up the client if I wanted
to.

Q. Did you have any discussion with her
or did she mention filing a complaint against
the police?

A. No. She didn't mention about
complaint. I think we have a company policy
that she - again, I don't want to speak for
her - you know, if we have workplace injuries,
I think that was what she was going by.

Q. And you also - what happened after
you spoke to Terry?

A. So now everyone is gone. The police
have left. I have noticed that there was more
than one police officer in parking lot at that
time. So the cruiser, they've all driven off
and everyone is gone.

So my client came out of the store.
My client lived very close to - he lives on
Beacon Street, so was very close to where we
went.

So I figured I could still drive him

home. So I told him what happened. You know,
he said he was sorry, so I drove him home.

Typically when I drive him home, I
would help him with the groceries. I just
couldn't do that. And the pain was getting
worse, so I needed to go to the hospital to
have it checked out.

Q. And which hospital did you go to?

A. I went to Beth Israel.

Q. Beth Israel?

A. Yes, Beth Israel. It was the
closest.

Q. And were you seen at Beth Israel by a
doctor?

A. Yes. I was seen. I was seen by a
doctor at the emergency room.

Q. And what did the doctors tell you?

A. You know, the standard procedure.

They took my temperature and everything, and he
checked it. And I think he wanted me to do an
x-ray to see if my back was broken.
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A. I don't remember. But the last
discussion with her was to follow up with my

primary care physician if I have it.

Q. Did you follow up with your primary
care physician?
A. Yes, I did. The next day the pain

was still there, and I followed up with him.
And he was more concerned about my mental
health state and wanted me to see - and
recommended me to see a therapist. He also
give me pain medications. I think originally
it come from the Beth Israel Hospital.

Q. And who was your primary care
physician?

MR. PADOLSKY: I'm going to object.
We're getting a little far astray of what is
likely to lead to information that is relevant
to the case that we're here for.

BY MR. AMES
Q. You can answer, Mr. Ebowe.

MR. PADOLSKY: And I'm not sure
that it's appropriate for you to be asking
about things that are far afield of the scope
of what might be admissible at trial in this
case.

So I'm not sure that it is

appropriate that you would ask him to answer
questions like that when we're here on a
deposition in the Baez case.

BY MR. AMES:

Q. Mr. Ebowe, you can answer.

A. So the question again, please?

Q. Who is your primary care physician?
A. At the time my primary care physician

was Doctor Thomas Castiglione. He was from
South Shore Medical Hospital.

MR. PADOLSKY: Brooks, I'm going to
ask you to explain for the record how that is
in any way relevant to Baez in case this has to
be raised with the Judge.

MR. AMES: What is?

MR. PADOLSKY: Who Mr. Ebowe's
primary care physician is.

MR. AMES: We are going to get -
later in this deposition we will get into the
police investigation which relied on
Mr. Ebowe's medical records.

And those are relevant to the
investigation that the police conducted of this
racial profiling complaint.

And the racial profiling is a
central part of the litigation - the Baez
litigation and the investigations conducted by
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And whether they're complete,
whether they're not complete, whether they're
inaccurate is all part of the case.

So I'd appreciate the opportunity
to depose the witness without obstruction.

MR. PADOLSKY: Respectfully, it's
far from obstruction. The relevance of who
Mr. Ebowe's primary care physician at this
point, outside of what you're saying will
become part of the record, is not clear at all,
but go ahead.

BY MR. AMES:

Q. How do you spell - do you know how to
spell the physician's last name?

A. I could look it - it's Castiglione.
I have to look it up online.

Q. That's okay. That's okay. Were you
given a diagnosis?

A. Yeah. They just give me a report. I

don't remember the specifics there.

Q. What else connected to this incident,
this July 7th, 2016, incident?

A. Yes. So if I can quickly backtrack
to the parking lot.

Q. Yes.

A. One very important information I

forgot was when he was talking to me after I
got up before he gave me his card, that was
when I realized he thought I was breaking into
my car, because he told me there has been a lot
of break-ins in Brookline.

That was when the picture became
clear to me that the officer confronted me
because he thought I was breaking into the car,
because that was not my mindset initially.

Q. Did he tell you why he thought that
you were - well, you assumed that he thought
you were breaking into your car?

A. No. What he told me --

MR. PADOLSKY: Objection to the
question.

THE WITNESS: Why?

MR. PADOLSKY: I'm just putting in
an objection for the record. You can answer it

if you understand it.

THE WITNESS: Now he - when he told
me, I hope you can understand, I said, No. I
don't understand.

He said, There have been a lot of
break-ins to cars in the neighborhood - in the
neighborhoods, to that extent.

You know, I really - I can say my
initial thought, like I said before, was I
wasn't too upset because I thought they were
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That was my initial thought. So if
that was the case, then the officer can, you
know, stop me and stuff like that.

But when he told me, Oh, there have
been a lot of break-ins in the neighborhood, so
what I got out from that information was that I
was breaking into my car.

That was how that information came
to me. So fast forward to the doctor's office.
I went to the therapist and told her, and I
attended therapy session for a while.

So she was not very - she was as
helpful as she could be. Then I sought therapy

as we - I attended for almost two years,
something like that. So that was the medical
background for the follow up of the situation.
BY MR. AMES:

Q. Did you make a claim for benefits
arising from being out of work?
A. No. I was still out of work, but I

think I had to use my - because the work said I
could stay out as long as I could, you know,
and to return when I'm feeling better.

So everything was done through work.
I did not go out and make a benefit or make a
general request.

So work was very supportive with
respect to how I got paid and stuff like that
and was supportive of the - of me given the
incident that happened.

Q. Did any police officer give you any
information about filing a complaint?

A. No. I don't remember. But, like I
said, the detective gave me his card if I
needed to reach out, gave me his card and stuff
like that.

There was no discussion about, Oh, go

file a complaint if you want. Again, I just
wanted him to leave. That was my intent.

You know, I just wanted to take care
of myself. And, you know, as I said, it was
traumatic to me. I just wanted to take care of
myself.

Q. Why did you think you had been
stopped?
A. Like I said before, when I saw the

police officer I told - you know, I thought I
was stopped because he was after somebody that
looks likes me.

You know, in my mind, I was thinking
maybe it was just a robbery or something more
serious in the neighborhood, and they are
looking for somebody that fit my profile. So
that's why I thought I was stopped. Yes.
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not the case, why did you think that you had
been stopped?

A. Yes. Then I figured it out. I was
devastated. And, you know, when it turned out
that he thought I was breaking into my car, you
know, there was no other explanation that could

have given other than - you know, as time goes
on and starting to peel off the incident, there
was no other reason other than he saw a black
guy standing in the parking lot and, you know,
think I was breaking into a car.

And that was unusual, because

Brookline to me is very diverse. I've been
there. I have worked in the neighborhood for a
very long time in the communities there. It
was - to me it was very bizarre.

Q. Bizarre?

A. Yeah.

Q. Did you come to - did you consider
filing a complaint?

A. Yes. At this time I was working, you

know, I'd spoken to my wife, and, you know, we
have to take appropriate action.

Racial discrimination is something
that needs to stop. You know, I don't know if
I can sideline.

I think it was that same day that I
was - what make me so scared is when I watch in
the news there was this black guy that was in
his car talking about he had a gun and was

shot.

There is racial tension out there
that I was following. And that got me - you
know, that got me ticked off, you know, very,
very scared.

Q. And do you recall when you ended up
deciding to filing a complaint?

A. Say that again?

Q. Do you recall when in connection to
the incident you ended up deciding to file a
complaint?

A. Yes. You see, I was more - again, I

was more focused on myself, because I was
really, really devastated and traumatized about
the incident.

If you know me outside of this
incident, you would come to understand. So I
have to put myself together.

And my wife pretty much took over
that aspect of dealing with the police
department and the consulting with the
attorneys and stuff like that.

So to give you specific detail, I
have to reference the documentations. But,
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again, it was within that period of time is all
I can say.

Q. If I represented to you that a letter
was written on your behalf asserting a
complaint against the Brookline Police in
January 2017, would that be consistent with
your memory?

A. Yes.

Q. Can you tell me from your perspective
what happened after the lawyer wrote that
letter?

A. How do you mean?

Q. Did you become aware of a police
investigation into your complaint?

A. Yes. The only reason I know, they

reach out to my work to request my work record.
So I was informed by my work that they reached
out to request my work record, so I know they
were investigating me, too.

Q. How did that make you feel?

A. You know, the whole process was -
again, it just - it was new to me, and it made
me feel very sad.

Q. It made you feel sad?

A. Yeah. And I thought the whole
process was unfair. That was my own thinking.
Q. Were there other things about the

process that you thought were unfair?

A. Everything about it was. I'm not

talking about - I'm talking about the
interaction with the police. Everything was
unfair.

Yes, everything was unfair. All he
needed to do was ask me what I was doing there.
You know, just a simple question, What are you
doing here? Who are you? That would have been
fair.

But, you know, okay. Fine, you
thought I was breaking into my car. You know,
I have my hands up. You asked me to lie down.
Yeah, okay, maybe for security reasons.

But, you know, to the extent that you
have to put your legs on my back, that was
unfair, completely unfair. All the
intimidation, I don't know why that would have
been necessary.

MR. PADOLSKY: I'm sorry. Did you
say back or butt?

THE WITNESS: Back.

MR. PADOLSKY: I just wanted to -
that's what I thought I heard.

THE WITNESS: No. B-A-C-K. It
wasn't close to my butt. Let me tell you that,
okay.
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BY MR. AMES:

Q. I'm going to try to share to the
screen a few exhibits, and they have been
marked in an earlier deposition in this case.
Let's see how this goes.

So I can't tell if anybody can see
what I'm looking at?
No. I cannot see it.
How about now?
Yes.
Mr. Ebowe, I'm going to represent
that this is Exhibit 33 that was introduced at
Ben Franco's deposition.

And just for the sake of the record,
I will scroll up and then I will scroll it
down, but just to show you what it is.

Let me get to the very beginning.

0 PO Pp

Okay. Mr. Ebowe, do you see a letter
dated January 5, 2017?

A. Yes.

Q. Did you see this letter before it was
sent out by Certified Mail to Chief O'Leary and
Patrick Ward?

A. Yes, I think so.

Q. I'm going to go back to the page I
was on, because I wanted to show you a map that
is part of this.

Okay. Mr. Ebowe, are you seeing a
map - a Google Map?

A. Yes.

Q. Do you recognize what is depicted on
this map?

A. Yes. I'm thinking it is Brookline.
Oh, Harvard Street. Yes, I do.

Q. Can you see my cursor?

A. Yes, I do.

Q. Do you know whether that - where my
cursor is, whether that’s the Walgreens?

A. Yeah. That would be the Walgreens.

Q. Can you tell me just using words, and

I'll try to put the cursor in the general

direction, but if you have a recollection
today, do you recall where you had parked your
car when you went to the Walgreens?

A. Yes. It would have been where you
have your cursor right there, yes. That would
have been my car there.

Q. Okay. So your car would be where
I've now moved the cursor right on top of a car
that is depicted in the picture?

A. Yes. That would have been my car.

Q. That's where you recall parking your
car?

A. Yes.
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of detail, so if you don't have a specific
memory, please don't guess or speculate.

A. I'm talking about the general
vicinity. That where I would have parked my
car right there. That is my car. That's what
I'm saying.

Q. Do you recall, for instance, whether
your car was facing - and I'll just - this is
Harvard - this is a little - I'm not sure it is
a through street. It is an alleyway street

that is called Harvard Court.
Do you recall whether your car was
facing Harvard Court or facing the Walgreens?

A. My car was facing the Walgreens.

Q. Do you recall where your walk took
you?

A. So my walk took me - usually I would

go right, right towards this side to the right
of Walgreens, all right.

Q. So I'll represent that if we're
looking --

A. The opposite side is where I would
have walked.

Q. Oh, this way?

A. Yes. So then going out of Walgreens

parking lot to take my walk. But when I came
back, I came through - now, if you go all the
way to the entrance to the end, yes, go up - up
a little. Right there. Yes. Right there.

So I came - no, left a little bit,
left. Okay. Right there. Stop right there.

Okay. So when I went around the
neighborhood, I cross Harvard Square to the
opposite direction and came in from the

opposite direction crossing Harvard Square
towards that tiny road right there and the
parking lot, yes. So that's how I would have
walked. I just don't remember the names.

Q. This is called Harvard Court. Is
that what you mean, not Harvard Square?

A. No. The Harvard Square is the main
road right there - no, Harvard Street. I'm
sorry.

Q. Harvard Street. I see.

A. Right, right, right. So I went

opposite of Harvard Street, across the main -
I'm sorry.

From Harvard Court, if you go left,
all right, you are crossing the road left now,
what is the name of that road there?

Cross, keep going. Yes. Right
there. What is the name of that road?

Q. Harvard Avenue.
A. Okay. So I came through Harvard
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parking lot through Harvard Court. Do you see
how I moved here like that?

Q. I see.

A. Yes, yes.

Q. And how long - you said that at one
point you were looking at the news on your
phone?

A. Yes.

Q. Where were you on this map?

A. So I would have been right under

these trees. Do you see where you have your -
see the trees in front of it?

QO. Yes.
A. So within the parking lot there isa
- you can stand there. I would have been

somewhere there, yes.

That was where I was standing,
because I did notice that my client wasn't out,
and I stood right there, and that's where I
was.

Q. Were you on the street or were you on
the landscaping?

A. No. I was on the landscaping, yeah.
I was not on the street. I was on Walgreens
landscaping.

Q. So returning to the location where
you said your car was parked, are you saying

your car was parked in that precise space? Are
you Saying it was parked in that general area?

A, It was parked there. Not that
precise space. It is going to be between - now
I'm looking at the map. My recollection now
facing Walgreens, so I should be able to see
the entrance of Walgreens from where I was
standing, correct? Is that what the map is
showing right there?

Q. The Walgreens entrance would be where
I'm putting the cursor here.
A. All right. Excellent, okay. So,

yes. So, yes, my car would have been right
there. In that vicinity right there. Between
those two spaces, because I recollect that and
I can recall that precisely.

Q. Can you identify on this map where it
was that you were walked to and where you were
asked or commanded to lie down on the ground?

A. I just walk across - okay. Go - no,
no. Straight up, yes, going straight. Yes.
Right about that vicinity under that tree right
there.

Q. So to the border of the landscaping

that abuts Harvard Court on the map?
A. Yes.
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from this map, but is there anything - as you
are looking at this map and thinking about the
incident, is there anything on this map that
would be useful for us to talk about that we
haven't already talked about?

A. Unless you ask specific questions, I
really don't know.

Q. Thank you. Were you ever - Mr.
Ebowe --

A. Right.

Q. -- were you ever provided a copy of

the investigation that the police had conducted
into your complaint?

A. I don't remember seeing that. I
really don't remember seeing that.
Q. Let me scroll up this document and

ask you a couple of questions. Do you see a
document that has the letterhead "Brookline
Police Department Office of Professional
Responsibility"?

A. Yes.

MR. PADOLSKY: I'm not seeing it.

MR. AMES: No?

THE WITNESS: I do see it.

MR. PADOLSKY: Okay. I see it now.
BY MR. AMES:

Q. It's in a memo format to Chief Daniel

O'Leary from Lieutenant Paul Campbell. Do you
see that?

A. Are you asking me?

Q. Yes.

A. Oh, yes, I do. Yes, I do.

Q. And you see the subject of the memo
is, "Detective David Wagner"?

A. Yes.

Q. Do you, looking at this - I'm going

to call it a memo. But looking at this memo,
does it - do you recall seeing it before?

A. Yes. I saw it. Yes, I've seen it
before.
Q. What do you - we can go through the

document, but what do you recall - what do you
remember about the police investigation that
you remember from this document?

A, Yes. I remember we did have some,

you know, some differences on our take on what
the actual report was alluding to.

There were some areas, you know, we
question what was on the report, but I'd have
to look at it to point out the areas.

Q. Okay. So sitting here right now
without looking at the specifics, nothing
particular comes to mind?

A. No. I have to review it directly.
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summary - sorry, the first part of this memo is
a summary of the letter that your attorney sent
to the Town of Brookline.

And I'm going to scroll through that
to the part that reflects the investigation.
But let me just ask, this memo from Lieutenant
Campbell to the Chief indicates that the letter
that you wrote states that Detective Wagner
would not have treated - and your name is
blocked out - in this manner if he were a white
male. Do you believe that today?

MR. PADOLSKY: Objection.
A. That currently my - I don't know
Detective Wagner. All I know is how he treated

me.
I wouldn't - I don't have his - I

don't know him personally, but all I can tell

you is the way he treated me was unfair.

That's all I can Say.

Q. And the next sentence there talks
about serious racial discrimination issues that
exist in the Town of Brookline and brings up
Officers Prentice Pilot and Estifanos
Zerai-Misgun, refers to claims of racially
disparate treatment made by Dwaign Tyndal,
Juana Baez, Demetrius Oviedo, and Deon Fincher.
Were you aware of any of those issues or

claims?
A. Before that - before the incident?
Q. At any time.
A. Oh, no. After this incident I was

aware. I was, you know, after I look at all of
this report and the incident to me and, you
know, like, as a casual observer, I was very

surprised.
Q. And what was it that surprised you?
A. You know, again, Brookline is very -

you know, it looks like a place that is

multicultural, again, a lot of students.

Again, I have a lot of friends in
Brookline from Jewish background, very nice
guys, you know, Afrian-Americans.

There is a lot of people that lives
in Brookline. To me Brookline was more a place
of very progressive environment.

And to read that there is issues of
discrimination going on in this neighborhood in
Brookline, I was shocked. I have to say that.

Because I have never seen Brookline
in that light given - again, given the
diversity in the area, you know, close to
Boston, students everywhere.

You know, it's a beautiful place.

You know, I was very, very surprised I have to
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Q. The summary says that - states that
the treatment of - and, again, your name is
blocked out - by Detective Wagner is part of a
continuing pattern of discrimination and
harassment of people of color or African
Americans by the Brookline Police Department.
Did you believe that?

MR. PADOLSKY: Objection.

A. Yeah. Based on the record, I mean,
yes, of course. Looking at the record - it's
something I did not know before it happened to
me.

Again, looking at the record, it was
was there. It was there. The evidence is

based on the records. Yes. I do believe it
looking at the record, yes.
Q. Let me try and get into some of the

conclusions or findings of the report so we can
understand where there may be differences.

So just reorienting. What you are
looking at now is the same memo I've been
showing you, and this is a part of the report
where Lieutenant Campbell is recounting his
interview with Defective David Wagner. Do you
see that?

A. Yes.

Q. And your testimony is that you had
seen this memorandum - you have seen this
memorandum before?

A. Yes. The lawyer sent it to me after,
yes, to take a look at it.

Q. Okay. So Defective Wagner -
according to this summary, detective -
according to this memo, Defective Wagner was in
uniform on on a dinner break, and he was
sitting in his personal vehicle on Harvard
Court.

He could not say exactly where his
vehicle was parked, but described it as being
somewhere toward the end of the parking area
for the Women's Health Service facility.

Did you ever see where Detective
Wagner was parked or where he came from?

A. No, I did not.

Q. Okay. And just to be clear, do you
understand that Dective Wagner is the Brookline
Police officer who confronted you in the
Walgreens parking lot?

A. Yes, I do.

Q. And according to this, Detective
Wagner was facing Harvard Street when he
observed a man, later identified as you, walk
south on Harvard Street from the front of the
Women's Health Services building and turn down
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Is that consistent with what we - you
have already testified? Were you coming down
Harvard Street from the - no. I'm sorry. I
don't want to put words in your mouth.

I think what you testified was that
you came across the street from Harvard Ave.
to Harvard Court; is that correct?

A, Yes. Into the parking lot, yes.
That's correct.
Q. Detective Wagner estimated the man to

be in either his late 20s or early 30s, but
wasn't certain.
How old were you at the time?

A. Yeah, that was flattering. I was in
the - I think I was in the - I was in my 40s,
man.

You know, I can't really - he
probably thought I was younger. That's not a
bad thing on my part, but I was in my 40s.

Q. Detective Wagner said the man walked
less than 15 feet down Harvard Court and then
went into the bush/tree area that separates
Harvard Court from the Walgreens parking lot.

Does that - do you contest that? Do

you remember that? Do you agree with that?

A. I know where I walked. It is where I
described. So how he saw me, my pattern of
movement, that I cannot - you know, again, I

just crossed Harvard Street, walked into the
parking lot.

I knew that road existed during
this - you know, discussing this incident with
my lawyer. I never knew like Harvard Court. I
never knew that was a road.

I just knew - I just walked across
Harvard Street, went to under the tree. That's
what I remember.

So I could not have known his
observation and where he was watching me from.
I didn't see him, and I don't know.

Q. Detective Wagner - I'm reading again.
"Detective Wagner observed that the man
remained in the bushes for a period of time
that he estimated to be 6 to 10 minutes and
said that the man was standing by a stone
pillar located near the edge of the Walgreens
parking lot."

Can you comment on that?

A. No. I was not standing by a stone
pillar. I was by the tree. There is no -
there is a stone pillar, having looking back.
I think it's at the Walgreens entrance.

I wasn't standing close to the road,
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walk to my car.

I was by the tree, and I was in the
parking lot grounds, not on the road. I did
not stand by the stone pillars. There was no
need to stand there.

Because my initial - when I came
back, I had to see if my client is out of the
store so that I can drive him home.

The last thing on my mind was to

lounging around on the stone pillar. No. I
was under the tree.
Q. I'm skipping ahead a little bit. The

memo states, "When the man walked into the
parking lot, Detective Wagner said he saw
something in his back pocket that was shiny and
he believed may be a screwdriver."

Did you have anything in your back

pocket?

A. No. There was nothing that was in my
back pocket that was shiny.

Q. You mentioned that you had taken some

screwdrivers out of the trunk of your car.
Were those screwdrivers in boxes or how --

A. It was a pack of precision
screwdrivers. It was red, blue, and I think it
was green. They're very colorful screwdrivers.

If you are looking at them from a
distance, you cannot tell they are
screwdrivers.

You'd think they're Lego toys.

That's how beautiful they were. And they were
in my car. Not in my pocket.

So until I got to the car, opened my
trunk, and took out the screwdrivers from my
car, they were not with me.

Even if they were, they were not
shiny. They were colorful, precision
screwdrivers.

So I contest that statement from
Detective Wagner that I have some shiny objects
in my pocket. There was nothing shiny in my
pocket, none.

Q. The memo states, Detective Wagner
Said the man - "Detective Wagner continued to
watch this man and observed him go to a vehicle
and open what he believed to be the driver's
side door of the vehicle.

"Detective Wagner said the man did
not get into the car, however, and that the man
then shut the door and walked to the rear of
the vehicle and opened the trunk area.

"He said that the fact that the man
had opened the door but not entered the vehicle
and then gone to the trunk raised his interest.

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be looking for items of value. And not seeing
any in the front of the vehicle, he may have
been going to the trunk area to look further."

First off, did Detective Wagner ever
tell you any of this at the - on the date of
the incident?

A. No. And can I say more?
Q. Yes.
A. If Detective Wagner was observing me,

he should have completely noticed that I went
to my trunk before going to the front of the

car.

If my screwdriver was in the trunk of
my car, then I went there first, opened the -
to open the trunk, I have to open the car with
my key, see.

So when I opened the trunk, you could
have seen all of the light flash. If he was
observing me, he would have noticed that I
opened the car with the lights on - coming on
and the noise.

He probably didn't, but you should
see the lights. I opened the trunk, brought
out the screwdriver from a bag in my trunk.

So it was very clear. If he was
really looking at me, he would have seen that I
brought out a bag and brought something out of
the bag, closed the trunk, went to the front of
the car, and came out of the front of the car
without that same object in my hands.

So the idea that I went to the front,
went to the back, and then went back to the
front, that is not correct. I'm sorry. That
was wrong. That was not what happened.

Q. The memo continues stating,

"Detective Wagner was unsure this was, in fact,
the man's vehicle, so he exited his vehicle and
approached him.

"He said that he called out to him
from a distance of about 25 feet and identified
himself by saying, "Brookline Police.'"

Can you comment on that?

A. No. That is wrong. He didn't
identify. In the first place, he was ina
police uniform. He did not identify himself.

He was very close to me, and he was
stoic, and I thought he was going to shoot me.
Again, I have friends who are police officers.

You know, I know police officers.

I'm not the kind of guy that would be afraid
when I see a police officer.

His demeanor was very different. So
that was why I came to the conclusion that this
guy is after somebody that looks like me.
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and it must be very serious. He didn't say
anything. All he asked me to do was don't - he
commanded me to be - not to say a word.

There was no, Oh, yeah, I'm the

police. No, he did not.

Q. He said - I'm continuing to read.
"He said the man made a half turn of his body
and looked at him and that he look startled.

"He said that as the man did this, he
also appeared to take a small step away from
him, which caused him concern.

"He was still unsure of exactly what
the situation was, but said that it appeared to
him that the man may be thinking of running."
Can you comment on that?

A. SO --
MR. PADOLSKY: Objection.
BY MR. AMES:

Q. You can testify.
A. From my recollection, there was no
evidence. From my recollection, there was no

attempt on my part to run.

When I turned around, like I said,
you know, and he asked me to raise up my hand,
I followed his instructions.

In my mind, looking at his demeanor
and fearing for my life, I was - I had to play
it safe.

That was what was going through my
mind. Because I knew any slight mistake and
looking at his demeanor, this guy would shoot
me.

That was the only thing that I had on
my mind. And there was no ground to run. I
mean, we were so close to each other that that
was not even a consideration, to run. Run for
what?

You know, so that I objected to when
I saw this. To say, oh, he was going to -
running from what?

So that I did not see any reason why
Detective Wagner would have thought I was going
to run when I was following his instructions to
the T.

Q. "Detective Wagner said he knelt next
to the man who was lying on his stomach. He
said that at no time did he place either his
foot or knee on him or use any force on him
whatsoever."

Is that accurate?

A. He did not put his knee on my back.
He was putting his boot. He was standing on my

back.
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is different from what happened to me. He did
not kneel on my back. He stood on my back.
There's a difference between knee and boot.
That was what happened.

Q. I'm moving ahead a little bit here.
Detective Wagner said that you were allowed up
within 20 to 35 seconds of the arrival of
Officer Keaveney.

Do you recall when you were allowed
to get up in connection with --

A. It wasn't 20 to 35 seconds. Look at
his record - look at the record of his calling
and the arrival of the officers.

He had his boot on my back throughout
the whole ordeal. There was no - that could
not have been possible even just looking at the
record, the timing, the call-in timing, and the
arrival of the other officer.

He had his foot on my back throughout
the ordeal. He immediately step on my back.
Did not take his foot off until, you know, I
spoke to the other officers and they

established that that was my car.

So that is - we looked at it before.
That was wrong. Just looking at the timing of
it. It felt like forever.

Q. Now, this section that's on the
screen right now, the paragraph that's on the
screen right now is describing an apparent
dispute between the account in the letter
written by your lawyer and Detective Wagner's
recollection.

And it has to do with whether or not
you gave him your wallet or you gave him your
license. Do you see that?

A. Yes. I'm looking at it, yes. I did
not give him my wallet. I gave him my license.
I told him I'm bringing out my wallet in my
pocket.

The reason I would say that is so he
doesn't shoot me. I just - I was just this guy
looks like - you know, I was still in that
mode. Again, with everything that was going
on, I had to play it safe.

And my only way to safety is to
deescalate the situation, to make sure I follow

his instructions, and I don't appear as a
threat to him.

So those are what were going on in my
mind. So when I was - when I brought out my
wallet, I showed it to him.

I thought it was - you know, so this
is my wallet. So I opened the wallet and give
him the license.
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give him - when I get it pulled out, you know,
when I did have it, I showed him, you know. I
know you don't give him your wallet. You have
to give him your ID.

I learned that - learned that in my
lifetime. So why should I hand the police
officer my wallet? For what? There is no
need. I gave him the driver's license.

So that was - so that was a position
from my point of view is totally not what
happened.

Q. According to the memorandum,
Detective Wagner says that he explained to you
why he had approached and stopped you.

He said he specifically told you that

he had observed you in the bushes near the
stone pillar by the edge of the parking lot and
that he was right - and that you were right
next to an abortion clinic.

Is that accurate?

A. That is inaccurate. First of all, I
knew there was an abortion clinic during this
incident. Why would I go looking - I never
knew there was an abortion clinic there.

Secondly, Detective Wagner said
nothing other than, I hope you understand. If
it was actually explained to me, I'd say, Oh,
well, you know, this is what happened. You
know, there is a mistake. People - mistake
happens.

I would not be as angry or frustrated
by the incident. It is just it was so casual
as if this should be automatic to you.

You know, I'm not just another guy
who goes out there, commits crime, and is used
to police officer.

You know how many times I have been
arrested by a police officer in my entire life?
Zero.

I don't have any criminal record. I
pay my taxes. I do the right things in life.
So don't come to me and say, Oh, well. How am
I going to understand?

You think I deal with the law at that
level? No. I don't understand. I don't
understand the justice system with respect to
going to prison.

I don't understand criminal, because
I don't involve myself in this. So he never
said with no explanation, I hope you
understand, and he left. There was this much.

You know, he didn't explain to me,
Oh, this why. No. He just, you know, had an
attitude of this should be normal to you.
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confusing me for criminals. That's not my
lifestyle. So he did not tell me anything.
Give me any explanation about why he arrested
me.

Q. Did anybody say something about
break-ins in the area?
A. He said that. He said that. And he

Said that when he was leaving. It is not, Oh,

there were break-ins. No.

There has been a lot of break-ins
here after he handed me my card. So there was
no - there was no, you know, this was a
mistake. There was nothing like that.

It was just so - to him, it was so
normal. You know, it is this should be your
life. That was my recollection of the
incident.

There was no, Oh, I'm sorry. No, no,
no. It is okay. I am just doing my job. It
is something you should be used to, and I hope
you understand. That was how he came across.

There was no - you know, no
apologies, nothing like that. I hope you
understand, and he left.

Q. I'm going to go through this
paragraph carefully, because it - we may have
covered some of this ground, but it is areas
that he specifically says that - Detective
Wagner specifically contests the account that
your lawyer provided.

He reasserted that at no time did he
touch you with either his foot or knee. That's

inaccurate, yes?

A. That is inaccurate.

Q. He also said that you got on to the
ground on his verbal command, and he said he
did not walk him 45 feet to the edge of the
parking lot.

What is your testimony about - I
think I understand that you said that he had
you walk across the parking lot to where the
landscaping was on the border of Harvard Court?

A. That is correct.

Q. Do you know where the 45 feet comes
from?

A. So we look at the distance between my

car crossing the road within the parking lot to
the other parking - to where he asked me to lie
down. The calculation was about 45. That was
where that came from.

Q. Okay. Wagner says he never told you
to get on the ground spread eagle.
A. So I just lay on the ground because

he was standing by me? Is that what his
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You know, he asked me to lie down.

There was no reason I would lie down unless he
asked me to. So what am I going to do, just

drop down and say, Oh, let me lie - come on,
man, you know.

Q. Detective Wagner --

A. He asked me to lie down, spread
eagle, face down, and that was his command. He
was very, very clear. There was no mistake
about it.

Q. Detective Wagner said he did not

conduct this investigation with his hand on his
firearm, and at no time did he order the man to
keep quiet or to not say a word. Do you agree
with that?

A. I disagree. Because that was what
happened. He had his hand on his gun. That
was what I saw. That was what happened. de
had his hand on his gun.

If Detective Wagner did not appear
aggressive - appear aggressive, we would have -
we would have had a discussion, and he would
have let me go.

He just was giving commands. Again,
I didn't know what was going on. He had his

hand on his gun.

Like I said, it's not the first time
I've seen a police officer. You know, I've
spoken to a police officer before on friendly
grounds.

IT have friends who are police
officers. Except Detective Wagner's demeanor
was very different.

It was serious. And I knew if I made
any error - slight error, his gun was going to
- I was going to be dead. That was what was
going through my mind.

Again, my effort was to deescalate
the situation to show Detective Wagner that I'm
not a threat.

That whoever he was looking for, even
if he looks like me, I'm not going to do
anything to threaten his security so that I am
safe under the circumstances. That was what
happened.

He didn't come in as so friendly,
smiling. No. He was serious. This was
serious business, and I could see that.

That is the first time I have ever

seen a police officer looking like that. He
was very, very serious.

Q. I'm going to keep proceeding on this
paragraph. He said that upon the arrival of
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almost immediately.

At no time were you told to sit on
the ground with your palms down, and at no time
were you sitting during this stop. Can you
respond to that?

A. Again, different interpretation of
what happened. He had his feet on my back, and
he didn't let me up even when I saw the other
officers.

When they asked this question about,
you know, the car, and, you know, these
questions we discussed, his feet were still on
my back.

So when he took his foot off, you
think I'm just going to stand up and yell, Hi,
Officer? I was still scared.

You know, he still had his hand on
his gun, you know. And, again, this
description to me, this is completely wrong,

you know, given what happened at that time.

I sat on the ground. I followed his
command carefully. Again, I'm trying not to
get shot.

You know, I'm trying to save my life.
I do it - you know, with my client, I have
taken training on the deescalation and how to
handle emergency situations.

And that is what I was doing to make
sure I did not appear as a threat. So when I
was getting up, I didn't just jump right up,
you know.

I have to sit down, follow his
command, make sure every step of the way I did
not come off as a threat.

So he - this recollection on his part
to me was false.
Q. He said you did not narrate your

movements as you claim. And although you
claimed that other officers spoke to you, the
only other officer who had any interaction with
you was Officer Keaveney. No other officers
exited their vehicles.

A. I saw - so Officer Keaveney would

have been the officer that was by my car,

correct?
Q. Yes.
A. All right. I saw him from the

ground. And I spoke to him from the ground
when Detective Wagner still had his foot on my
back.

Every interaction we had was from
that level, all right. So after that, then
that was when I noticed that there was more
than one officer. There was a couple of
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everything.

So, you know, I really don't know
where his recollection came from. Again, the
interpretation of - I would argue that that did
not happen.

Q. In the next sentence Detective Wagner
disputes that the car chirped and the lights
flashed.

Is that - he says that the lights did
not flash and that the car did not chirp. Do
you know what he means by "chirp"?

A. I understand. That's why I said it

makes a sound when I turn it on. I completely
understand.

You know, go to any, you know,
dealership, look at a 2015 Nissan LEAF, you
know, immediately when you get close to the
car, you have the key in your pocket, you can't
open the car without it chirping and flighting
that light.

So when I went into the trunk -
because when I left, the car was locked. So
when I went into the trunk, and I opened the
trunk, the car chirped and the light flashed.

If he did not see it from his point
of view, that I cannot speak to, but that was
what happened. That is what always happens
when I go to the car.

Q. Now, Detective Wagner also says that
you were not by the front of the vehicle at the
time of the stop, but you were - you had just
gone to the rear of the vehicle when he
approached you.

A. That was - that is not correct.
Because I took the object from the rear of the
vehicle and left it in the front. So that I

would say his recollection there is wrong.

Q. Detective Wagner - I'm summarizing.
Detective Wagner is aware that you have alleged
that you were shaking and in physical pain as a
result of this encounter.

And he said that you were not shaking
and did not appear to be in any physical pain.
Were you shaking or can you tell me about this
aspect?

A. Yes. Of course I was shaken by the
experience. You know, I was in physical pain.
How would he have known that? Did he have
somebody put a foot on his back? How would he
have known?

If a police officer ask you to lie
down and have his boot on your back, so, you
know, again, this goes to what I said earlier,
like this is - this should be normal in my
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This goes to - when I was reading
this report, it is something I do every day,
you know.

Tt's so okay that this experience -
oh, yeah, I hope you understand. This goes to

that point. This is - that is so far off, you
know, from - you know, whatever the insinuation
is is so far off from the way I live my life,
you know.

I work with my church - my Catholic
church to distribute needed items to the poor.
When I go to Africa, I view schools for
children who are orphans due to the HIV AIDS
crisis.

I work with women who have been
disenfranchised by war. That's the kind of
life I live. So don't tell me, Oh, I wasn't
shaking as if I deal with this every day.

That is not my life. You know, I
would never see a police officer and I'm scared
of him. For what? He is a police officer, a
law keeper.

You know, I respect police officers,
and I appreciate what they do. I'm not the
kind of person that would see a police officer
and be scared. Why?

It's not - a police officer will not
confront for me unless I call him. What
business am I going to conduct? Nothing.

You know, but to come in and say he
wasn't shaking and everything was so normal,
come on, man, you know.

Tt doesn't work like that. It is not
my life. You know, so this is where, you know,
the whole racial thing start to click for me
when he say, Oh, he wasn't shaking. He looks
calm.

Are you serious? You know, to me his
recollection - if he takes it that way, then he
has to look, you know, start to have a
different view of the people he knows.

IT am not in the category of the
broadest, intensive criminal. Let me just put
it straight up. That's all.

If he see - you know, he see an
African American, oh, he is going to be used to
the justice system.

No. I'm too far away from that to
come to the conclusion of that. Oh, well, it
is routine activities for him. I wasn't
shaken. I didn't appear to be distraught.

No, no, no. It is not that big - I
was petrified. That's what happened.
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Wagner thought that you should be used to this
sort of police interaction because you were an
African American?

A. Yes. From what he is saying.

MR. PADOLSKY: Objection to the
question.
BY MR. AMES:

Q. You can answer.

A, Yes, I do, from this report. What
else can I conclude? When he said I wasn't
Shaking. I wasn't in pain. It was just, Hope
you understand.

What am I going to conclude from
that? That is my impression.

Q. Forwarding ahead a little bit. He
indicates that he believed he had ended the
stop on good terms with you and that your
conversation at the conclusion of the stop was
positive. Do you agree with that?

A. No, I don't, because I made it very
clear to him that I don't understand the
Situation.

There was nothing positive about it.

You know, it was very, very clear. If he
thought it was, why did he, you know, said he
was was going to have to put a report in.

No. He knew this was a serious
issue. I told him very clearly that I had
never been roughed up by a police officer
before.

You know, so I don't have this kind
of interaction with the police. That was what
it is. So the answer is I don't agree with
this assessment.

Q. I'm showing you a portion of the memo
completed by Lieutenant Campbell. I'm just
checking to see if there is a page number.

They don't seem to be marked by page.
In any event, do you see this statement that
Detective Wagner did not submit an FI
decumenting this encounter?

A. Yeah, I do.

Q. Was that something that was explained
to you or did you read this in the memo?

A. I read it. But, again, I - after

that particular I did not interact with
Detective Wagner. It was just between my

attorney and my wife, who was pretty much - you
know, she worked with litigation and stuff like
that, so she did explain that.

I saw those in the report. I didn't
interact with him. I did not have any
discussions, so, no, he did not explain
anything of that nature to me.
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is - can everybody hear me?
A. Yes.
Q. Do you see in the report here it says

- or the memo I've been calling it - it states
that Campbell does have two prior complaints
alleged, one in 2011 and another in 2015?

A. Yes, yes. I see it. Okay.

Q. And were you aware of that before
today?

A. Say that again, please?

Q. Were you aware before today that two
prior --

A. Yes. I'm aware of that because I
read the report after.

Q. Were you ever given any detail as to

the nature of those or the details of those

complaints?

A. I wouldn't say that, because even if
I did, I cannot recall.

Q. Let me show a different document

here. This is a - I'm not sure why it was
copied this way, but this is a document that I
have. And it is faint, but you can see at the
top it has been marked as Exhibit 27.

And this is part of a prior
deposition. So this is Franco 27. And I'll
represent that this was a prior complaint of
racial profiling made against Detective Wagner.
Did you ever see this report?

A. I was told they had the prior
complaints against him. Again, I've seen all
of these.

But would you please keep in mind
that after the incident I was more focused on
my recovery.

And if I saw things, I don't
remember. My focus was on my recovery from a
traumatic experience.

Q. Okay. So I'm going to step away from
that report and show you another one, and this

one is marked Franco 28.

And just scrolling through it a
little bit. Did you ever see this complaint
that was made against Detective Wagner for
racial profiling?

A. Again, I don't recall, but I knew he
had a couple of complaints against him. That
was what I was told by my attorney.

Q. Okay. I'm now on Franco 29 -
Exhibit 29. This is a confidential settlement
and general release agreement.

And I'm going to scroll through a
little bit of this document. There is
something called Exhibit A. Do you see that?
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Q. Just take as long as you need, but do
you recognize what that is? Have you seen that
before?

A. No, I don't think so.

Q. Let me read it to you. Dear Mr. -
and then --

A. Oh, I don't mean to cut you off. I'm
sorry, Lawyer, excuse me. I do recognize it

now. I have looked at it definitely. I

recognize it.

Q. And what is this?

A. I think it was kind of a letter, and
the Chief of Police of Brookline as part of the
settlement, you know, from our end, we do - I

do recognize this as an apology letter, but
there was no apology that was exclusively
stated, but that was what I requested.

And I think this is the best letter
they could have issued close to the apology
letter that I requested as part of my
settlement.

MR. PADOLSKY: It looks like we
lost Brooks.

MR. AMES: Joe, are you back in?

MR. PADOLSKY: I've been here the
whole time.

MR. AMES: I'm not sure when you
lost me, but I stopped being able to hear
Mr. Ebowe partway through his last answer, and
I was — when we got off, I was asking the court
reporter if she had captured the answer - the
last answer.

(Answer read.)

BY MR. AMES:

Q. Is Mr. Ebowe back in the Zoom?
A. Yes, I am.
Q. Oh, there you are. Thank you. I'm

very close to being finished. I apologize for
the - I'm not sure why it cut off, but let me
see if I can get back to the exhibit.

Is everybody looking at the exhibit

again?
A. Yes.
Q. So do you recognize this document as

the settlement agreement that you entered into
with the Town of Brookline?

A. Yes. That looks like it to me,
correct.
Q. And do you recall that as part of the

settlement, the Town of Brookline will
implement the ADL training managing implicit
bias within the police department ona
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in-service training program subject to
availability and scheduling with the ADL?

A. Yes.

Q. Was that something that you wanted?

A, That was what I recommend -
requested, yes. That was something that I
wanted.

MR. AMES: I don't have any more
questions for Mr. Ebowe. I will say that Joe
may have some questions, but I want to say now,
before I conclude my questioning, that we do
have a protective order in this case that any
party can utilize to designate portions of
transcripts as confidential.

And there were parts of the
discussion where you discussed therapy, medical
records.

And if you wish to make those
portions of the deposition confidential under
the protective order, that's your right.

And I just want to make sure before
I conclude my questioning that you know that.
And that can be coordinated after the official
transcript is prepared.

But I guess I'll leave it right
there for now and see what Mr. Podalsky has for

questioning.

MR. PADOLSKY: So we actually don't
have a protective order, although we should,
and I don't have any objections to what you're
Saying.

And I would imagine that whatever
order we enter into will look a lot like
protective orders that we have entered into in
the past in other litigation where we have been
counsel together. But I do have a few
questions.

EXAMINATION BY MR. PADOLSKY:

Q. So, Mr. Ebowe, I was going to you ask
you, you said you have family or friends that
are police officers.

A. Yes. Not family, friends. Yes, I
do.

MR. PADOLSKY: Before we get going
- off the record.

(Discussion off the record.)
BY MR. PADOLSKY:

Q. So you said you had family or friends
that are police officers?
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Q. I'm sorry. Hold on. I'm sorry. I
don't know what's going on here, but one of the
detriments of having Apple products is if one
thing goes off, then all of a sudden my
headphones get inundated with what's happening
on my phone instead of what's happening on the
screen.

So I didn't hear what you said when I
asked you about your friends and family that
are police officers.

A. I said I have friends that are police
officers, yes, that's correct.

Q. Where is he a police officer?

A. There is one in Kingston here, a

local police officer here, and there is another
one that is out of Boston. Oh, yeah, sorry, he
is a Boston Police officer.

Q. Are you getting advice from someone?

A. I just am looking at my notes. I
just didn't remember their names - their last
names.

Q. Is there someone else that is in the
room with you though right now?

A. No. But I have my file in front of
me.

Q. So you have a friend in Kingston and
a friend in Boston?

A. Yes, who is a Boston police officer.

Q. Any other friends that are police
officers?

A, Yeah. One of a family friend who is

a judge has a sister - has a brother who is a
police officer.

Q. I'm sorry. Whose brother?

A. A family friend who is a judge - is a
judge has a brother who is a police officer.

Q. Any others?

A. That's as much I know of police
officers. You know, I'm talking about the one

I know, you know, who are very close to me.
But other than that when it comes to
folks like local police officers in Kingston,
you know, I do know them.
And whenever I see and, you know,

when I run into them in construction, we do
some exchanges, just hi passing by, saying

hello.

Q. You are talking about local police
officers?

A. Yes. Local police officers.

Q. And you do some construction work you
said?

A. I said when I - no, no, no. When

they are doing detail work.
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if you see them, you'd walk by and say hi or
something of the sort?

A. At some point I couldn't. But I said
that's an older friend and, you know, during my
therapy - are you still there?

Q. Yeah, I am here.

A. Yeah, yeah. During my therapy, you
know, I was having difficulties, you know,
dealing with the presence of police officers.

It is not that I hated police
officers. It is just I had difficulty dealing
with the presence of police officers.

I did - knowing these police officers

that I just mentioned, you know, they are good
guys.

And I did some of the factors I
worked into - you know, into my therapy to come
out from the other side, you know, to get
better from this experience, yeah.

Q. So you've how long - you said that
you have a Kingston friend, a police officer
that's in Kingston that's a close friend of

yours?

A. The police officer I'm talking about
was my next door neighbor.

Q. And he a close front of yours?

A. Yes. He was my next door neighbor,

and he moved within Kingston. You know, we
invite him here to Christmas party. He stops
by to do my sprinkler system, so, yes.

Q. And he is still a close friend of
yours?

A. Oh, big time, yeah.

Q. What about your Boston police officer
friend?

A. Yes. That you see when we - that I
run into when - I think he is retired now -

when we have the chance with our church friends
there and like dinner and special occasions.

Again, a family - you know, I brought
up a family friend who went to school with my
wife, so that is how I came to know him, but -
so that is the relationship we have on that

side.

Q. What about any relatives that are
police officers?

A. I don't have direct relatives or
family that are police officers.

Q. You said you do not?

A. No, I don't.

Q. I think that earlier you had said

that you had never had an interaction - like an
official interaction, if you will, with a
police officer before the July 7, 2016,
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A. So let me make --
MR. AMES: Objection.
A. Let me make myself very clear here.

I have never had a criminal interaction that I
was dealing with.
Have I met a police officer during a

routine traffic stop? Yes. When my son had -
he was sick, and we had to call 911, because
the Boston Police - the Kingston Police showed
up at my house as part of the call, because my
son was sick and we had to have the ambulance
here.

When we had the - the other time I
think is when we had the winter due to, you
know, I thought there was - what do you call it
when you have fumes - the deadly fumes coming
out of the - carbon monoxide.

Q. Carbon monoxide?

A. Yeah, yeah, so they came here. So
those are the kind of interaction I would have
with them.

What I'm talking about criminal
interaction where I've been arrested for
criminal activities, you know, nonroutine
interaction and I'm breaking the law that the
police is arresting me, putting me in
handcuffs. Those are the interactions I'm
talking about.

Q. Never before?

A. No, ever.

Q. So you have had, you know, traffic
stop interactions?

A. Yeah, yeah. I mean, I don't fight
with the police. It is a traffic stop.

Q. Right.

A, You see that as - you know, any time

I do I am respectful. What I'm trying to tell
you I do not look at the police in a negative
light.

I respect the police, because I think
they are keeping the law. You know, I have the
television. I travel. I see police all around
the world, all right.

And the U.S. police is no different
from everywhere else. So because of that, I do
not see the police as the enemy of the people
so to speak.

I see them. I treat them with
respect. And whenever I can afford to, I
contribute to the - locally for donation for
the police.

Q. I understand what you're saying. I'm
just trying to get an understanding of any
interactions you might have had before July 7,
Oo~ WTA OP WNE

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2016.

A. Oh, okay.

Q. So you had, you know, some traffic
stop situations.

A. Yes. Sure, sure, yes.

Q. And then you had an incident at your
house with carbon monoxide?

A. Yes.

Q. Outside of that, any other specific
incidents that come to mind?

A. No. None that - where I would

require the police for life and death
Situation, no. I can't recall anything.

Q. Good or bad. Any specific incidents,
I mean, outside of like a routine like, hi, how
are you?

A. Okay. A long time ago we tried to

organize a - this was close to the '90s. We
tried to organize a local festival in
Springfield.

And the black community, because the
police - and we interacted with the police to
see - to bring unity between the black
community and the police officers in

Springfield in the Springfield Mall.

When we did the festival, the police
showed up, despite the objection of the black
community.

And the black community also had the
mind that they were not going to show up
because of the police, but they showed up, too.

So we going to have these two group
of people, you know, in that festival. So the
positive interactions I have with the police.
That's what I'm trying to explain to you.

That, you know, in most cases when it
comes to police officers coming to - like I

said, when my son was sick they showed up. I
was happy to see them.

Q. Sure.

A. Positive interactions.

Q. So the 1990 Springfield festival was

that - that wasn't a personal interaction for
you, was it?

A. We organized it. I was one of the
organizers. It wasn't in 1990. It was the
"90s. Make that clear. So I have to go
through my record and bring to show to you.

Q. No. Your memory is fine.

A. So what I'm basically saying, you
know, this was a very positive interaction.
I'm just trying to explain my attitude towards
police officers.

To me police are friends, not the
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Q. No. I fully understand what you're
Saying. So outside of the incidents that we
just went over, are there any other
interactions that you had that come to mind
prior to July 7, 2016?

A, No. I've never had similar
interactions. You are talking about with
respect to police right now, correct?

Q. Yes, yes.

A. I cannot recall any interaction that
is of similar nature or something that would
shake me so violently that I - you know, I
really haven't.

Q. Okay. On July 7th, 2016, you were
working for the Jewish Family and Children's
Services?

MR. AMES: Joe, can I just step in

for a minute, since you seem to be going into a
different section?

If you have, you know, more than a
couple of minutes, I would like to take, as
they say in England, a comfort break?

MR. PADOLSKY: Go for it.

MR. AMES: Okay. Thank you.

(Recess.)

BY MR. PADOLSKY:

Q. I think earlier, Mr. Ebowe, you were
talking about that in July 2016 you were
working for the Jewish Family and Children

Services?

A. Correct, yes.

Q. How long had you been working for
that entity?

A. So I - at that time I started working
for them in 2008.

Q. And where was that located?

A. Where locate? The office - my work

location was stationed at Freeman Street -
Freeman. But also the way my work is

structured is that I was dealing with folks in
the community. So they were not situated in
one location.

So we have folks on Beacon Street,
Freeman Street. We have them all around
Brookline and some part of Allston. So I have
to move around to meet my clients.

Q. And your clients were predominantly
in Brookline you said?

A. Yes. Most of them were in Brookline,
yes.

Q. And so everything that you were

describing earlier in terms of your work
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Brookline?

A. Yes, it does. Most of the time.
Again, our corporate office is in Waltham. We
do have clients and activities there. Again, I

usually work outside in Brookline. So but
related to this discussion, it was all in
Brookline.

Q. So your day-to-day with clients, that

typically consisted of a lot of what you had
described with relation to taking your clients

to certain - to perform certain activities like
go to the bank or go to the drugstore, correct?

A. That is correct, yes. That was some
of the activities. You know, I'm dealing with
people whose activities - my clients were
people with the developmental disabilities. So
what I did was I'd help them with activities of
daily living.

I would source - let's say they need
to clean - their apartment is dirty. I source
people to come and start cleaning for them.

So if I have those services, I have
to keep on top of the services to make sure.

Q. But in terms of what you were doing
for your clients, you'd be taking them - I
mean, aside from what you were just describing,
you would also be taking them to various places
like the bank or the drugstore?

A. Yes. Bank, doctor's appointment,
drugstores, you know, if we have social
activities I want them to go, and they need
support with it.

Again, none of them are very
independent. So if they need support with it,

I will go with them. After work I would have
to deal with that as well. Just the ones that
go to work.

Q. Most of these appointments or
locations, were these also in Brookline?
A. Yes. Some of them in Brookline. But

most of them, they work outside of Brookline,
so I would - the ones that come from outside of
Brookline, I would drive to them.

The ones that work - that work
outside of Brookline and have issues, I will go
and deal with them wherever they are located.

But, ultimately, they reside in
Brookline, and most of the work —- bulk of the
work would be in Brookline, that is correct.

Q. So fair to say that from 2008 - do
you still work with the Jewish Family and
Services?

A. No, no. I stopped working for them

last year.
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A. Yes.
Q. So fair to say from 2008 to 2019 your
work with the Jewish Family and Children

Services was predominantly in Brookline?

A. That is correct, yes.

Q. And that you were in the community
for the purpose of work for that entire time
frame?

A. Yes.

Q. And that you were familiar with
Brookline through your work?

A. Yes. Oh, big time, yeah. I was
familiar with Brookline, correct.

Q. What about personally, not just

professionally. Do you have any ties to
Brookline personally?

A. Well, so this is how I would put it.
See, most of my clients have families, too.
Some of them I have come to know, and, you
know, I would talk with them.

But other than that, no, I really
don't have other personal connections to

Brookline.

Q. You did say earlier that you had some
friends in Brookline?

A. Those are the ones that I was

referring to.

Q. The family members of some of your
clients?
A. Right. They became my friends.

Talking about cousins and, you know, parents,
so those were the ones that - those are the
ones that I know.

Q. Understood. I want to ask you a
little bit about that July 7, 2016, day. Do
you remember what time of the day it was that
you had taken your client over to Walgreens?

A. Yes. It was - I would put the time
about 3:30, because I remember I see - when I
have to meet my clients, we make appointments.
That was when we have left home from there
towards the Walgreens.

So, again, through it, an hour for
him to do his shopping, but sometimes it's
longer. That is just my estimation.

So that was when the movement started
from leaving the house.

Q. About 3:30 though?

A. Yes. That's when we left. But when
- you know, by the time I dropped him and when
this happened, it was very close to five, yes.

So it was different.
QO. And do you have a memory of the
wo ton oahr WN

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A. It was a very bright date. It was a
beautiful day. That was one of the things that
I know.

Q. Was it a sunny day?
A. It was sunny, yeah.
Q. Now, I know this is probably going to

sound weird, but do you remember if there were
clouds in the sky or cloud covering at any

points?

A. It was a beautiful day. Because when
it was a beautiful day, I like to - you know,
and I have some free time, I like to take a
walk.

So if I went out taking a walk, it
was because it was a beautiful day. But I was
not paying attention to, you know, the --

Q. It's a weird question. That was your
practice if it was nice out when you were
waiting for clients, you would go for a walk?

A. I like to walk, take a walk for
exercise. I do that as well. And one of the

things that would make me do that is a
beautiful day.

Q. And is that something that you've
been doing since 2008?
A. No, again, my activities is that, you

know, what I said earlier. When you are
dealing with people, which you know as a
lawyer, that every day is different, you see.

Because, you know, you can go there
today, and they are doing fine. Tomorrow you
go, they have some - you might assist them in
response to dealing with their family. So just
play it by ear.

Q. Sure.

A. So it depends on the day to day. But
when I'm free, in this case when my client was
in the store, he did not need my support while
he was in the store.

Q. I understand.

A. So I had two options, so I just take
a walk. So my response is it is not what I do
every day.

On that that particular circumstance,
I did that, taking a walk, yes.

Q. Fair to say, and feel free to tell me
if this isn't fair to say, but fair to say that
whenever you had a chance and when it was nice
out you would take an opportunity to take a

walk?
A. Yes, I would.
Q. And at least as it relates to your

work with Jewish Family and Children Services
from 2008 to 2016, generally speaking, that was
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A. Yes. So when I am at work, I will
walk around Brookline. I do go around walking
the Charles, too.

Q. Wherever you happen to be?

A. Yeah, exactly. So I do walk for
exercise. You see what I mean.

Q. No. I understand. I'm just trying

for the record to establish that essentially
from 2008 until 2019 when you stopped working
for Jewish Family and Children Services, that
when that opportunity presented itself in
Brookline, you would go for a walk?

A. Oh, I do, yes. You are right. That
is correct.

Q. So you said earlier that you had been
to that Walgreens location many times before?

A. Yes, correct. And at the same time
brought my client there.

Q. And was that the first time you had
gone for a walk at that Walgreens location?

A The first time?

Q. Yes.

A Oh, no, of course not.

Q. It's going to sound silly, but could

you estimate the number of times that you have
gone for a walk in that exact location?

A. I can't, man. And I'm going to tell
you why. I will take my - there are sometimes
I take my client there I don't - I can't go for
a walk, because the client I brought there
requires my assistance.

You see, so it's just if it's a free
time, it's between when the client is shopping
is when I go for a walk.

Q. I get that. I'm just trying to
understand how many times before --
A. But it's more than one, I will say,

but it's not - I cannot tell you I went 20

times, 40 times, because, you know, the client
- we don't go there every week.

You know, we only go there when he
need to. Because the client, when they need to
do their food shopping, they have, I think,
Shaw's down the street.

Q. There are other things to do.

A. Yes, yes. So we go there when, you
know, when they need some specific items that
that are specifically cheaper to get.

And this particular client also get
his medication from that Walgreens, you see, so
that's why we went there.

Q. Are you able to estimate the number
of times that you've gone for a walk in that
area?
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Q. If you can't say the specific number
of times, perhaps you could say about the -
talk about the frequency. How often do you
think you would go for a walk in that area?

A. Okay. You know, let me give the
different possibilities. So that client I'm
going to tell you TIT work with him for at least

almost a year, all right.

So let's throw it at once or twice a
month we go to Walgreens to do shopping, right.
So in that situation, maybe in summer, in
winter as well, if it is a good day and I'm
free, then I will go take a walk.

You know, so, yeah. We can put it in
a ballpark of, I would say, five. That was my
best estimate, five times.

Q. With that client in particular?

A. Yes. With this particular client.
Yeah. It was the only reason I have to go to
Walgreens.

Q. sure.

A. Yes.

Q. But then with other clients you would
go for walks in other areas of the town?

A, It depends on the client. Because

some of my clients were - all of my clients
were very independent.

So, again, let's say I bring my
client to Beacon Street for a medical
appointment. I have to stay there with them.

Q. No. I'm not --

A. It is not --

Q. I'm only talking about --

A. There is no pattern. Oh, gee, when I

go, this is how many times I walked. There is
really no pattern. That's what I'm trying to
explain to you.

Q. I'm only talking about when the
opportunity presents itself where your client
doesn't need your assistance, you would go for
walks in other areas as well?

A. Yes. Even when I have to take a -
when I have to take a little break from work, I
go for a walk. You understand. That's what I
do for exercise.

Q. And have you been - how long have you
been doing that for?
A. I always walk from day one. Since I

was able to walk around. I just - I still
walk. I go around to Kmart, do my walking. It
is just my exercise, yeah.

QO. So, I'm sorry, you said "from day
one," and I think I understand that, but this
is not a normal conversation, so I have to
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Would you say it's at least the last
10, 15 - well, let's say 20 years you have been
doing that?
Taking a walk?
Whenever you can.
Maybe the last 35 years.
35 years?
. Yes. Not only Brookline, but it's
what I do, like I said.

Q. Wherever you have the opportunity?

A Yes. When I have the opportunity.
When I lived in Cambridge after dinner I take a
walk to digest my food.

So I do walk for exercise. It isa
routine for me to take a walk, yes, so that's
the best I can.

>O ROD

Q. And has that routine changed at all
over the last 35 years?
A. It did after the police experience

with me taking a walk. You know, I love to go
to quiet places so that I can meditate and
reflect.

So you would see me walking in a very
quiet neighborhood, quiet times, in the woods.

But after the police experience I
withdrew - I drew back a lot and I stopped

walking.
Q. Are you walking now?
A. Huh? Yes. Luckily I came back to my

routine, you know. Therapy was very helpful
with walking and doing therapy. And, you know,
I'm back to walking in open areas.

You know, the therapy worked. It
brought me back to a level where I can, you
know, resume some aspects of my previous life.

But, again, you know, with a lot of
caution. Something could happen some day that
is completely out of my control. That was the
lesson I learned from there.

Q. So a few other questions about your
background. Did you work in any other jobs or
with any other companies that had you working
within the Town of Brookline?

A. No, no. Not within the Town of
Brookline.

Q. Which UMASS did you go to?

A. Boston.

Q. I went to UMass Lowell.

A. Oh, gee. That's a good campus. I
went to Boston.

Q. That's where my father went.

A. Oh, cool, man, cool.

Q. Okay. So July 7, 2016, you're at the
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MR. AMES: Did you say 7? I just
heard 11.

MR. PADOLSKY: 7.

MR. AMES: Thank you.

THE WITNESS: Yes.
BY MR. PODALSKY:

Q. And I'm not going to go over
everything that you have already gone over. I
just want to ask you a few questions.

A. Sure.

Q. So you said that at some point you
went and you went to the pavement on your own
at the instruction of Officer Wagner, correct?

A. IT don't understand your question.

Q. So Officer Wagner directed you to lie
down on the pavement and you did?

A. During this incident, yes. That is
correct.

Q. And you were talking about his - the

placement of his, I think you said, foot on
either a part of your upper back or neck in
your earlier testimony, correct?

A. That is correct.

Q. So I just - I want to see if I can
make this work. I'm going to show you - I'm
going to show you just a generic image of a
male individual. Hold on a second here. Let
me see if this works.

A. Yes.

Q. All right. So looking at - it looks
a little bit look Brooks, right?

MR. AMES: I wish I had that hair.
BY MR. PADOLSKY:

Q. Looking at this image here, I'm going
to put the cursor on the backside of this
image. Tell me when to stop in terms of where
the officer's foot was.

A. Okay. There.

Q. So I'm not sure for the record that
we're going to have this image when the
deposition transcript comes up.

So fair to say that that place that

you had me stop, that's between the left and
the right shoulder blades?
Yes.
On the upper back?
On the upper back, yes.
In the middle of the back?
Yes.
Well, that probably screws up the
record. But in the spine area of the upper
back between the left and the right shoulder
blade?

A. That is correct. As long as the shoe

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14 Q. Does that sound to you to be a fair
15 description of the area that you recall the
16 shoe to be?
17 A. Yes. So the shoe would be right
18 there. That's putting the middle of the shoe
19 standing up and down given the size of the
20 shoe. It was a pretty big shoe.
21 Q. All right. I want to try one other
22 thing here. I'm going to stop this for a
23 moment and come back to our regular screen
24 here.
0116
1 Can you see me now?
2 A. I can see you.
3 Q. Okay. Hold on one second. Do this.
4 So off the record for a moment.
5
6 (Discussion off the record.)
7
8 BY MR. PADOLSKY:
9 Q. Mr. Ebowe, you said you have a 2015
10 Nissan LEAF, correct?
11 A. I did.
12 Q. Did it look something like this?
13 A. Yes. It looks exactly, but it was
14 Silver, not powder blue.
15 Q. And when I say "something like this,"
16 I'm showing you, fair to say, what appears to
17 be a paused image of a YouTube video of a 2015
18 Nissan LEAF, right?
19 A. Okay.
20 Q. Would you agree with that?
21 A. Yes. That looks like a Nissan, yes.
22 You are right.
23 Q. And I'm going to fast forward here.
24 The screen is now showing a key fob, correct?
0117
1 A. That is correct.
2 Q. Is this what your key fob looked
3 like?
4 A. It looks like that, yes.
5 Q. All right. I'm going to press play.
6 Just for the record, let me do this. Let me do
7 this. Hold on a second.
8 So for the record, the video that I'm
9 referencing is at
10 https://urldefense.com/v3/__ HTTPS: //WWW. YouTube. com/watch?V=

1PGYM7J4CEC __; ! !NtP9J7iH11vxXGg! YTgoBrsQOSN5SnVytgjQ3h-
wcSLmyYTPoilwQrf7VZ4PpJBg0AKbct1Zmk _

OkRHTtGDcBMRhN$
11 And I'm going to press play here at
12 the 50 second mark, ask you to listen to what
13 they're saying in the video.
14 And then I'll pause it, and I'll have
15 a question for you.

16
Case 1:17-cv-10661-GAO Document 99-30 Filed 08/29/20 Page 53 of 67
the video that was played.)

FEMALE VOICE: It is possible to lock
and unlock the vehicle using your intelligent
key from outside the vehicle at a distance of
up to 33 feet.

To lock doors, press the lock button.

Your hazard warning lights will flash twice,
your horn will beep once, and you will know
that all doors are locked.

(End of video transcription.)

BY MR. PADOLSKY:

Q. Mr. Ebowe, did you hear that part?
A, I do.
Q. And did you hear that - does that

sound - does that sound to be accurate in terms
of the way that your remote key fob worked in
your vehicle worked?

A. So, yes, you can lock it from a
distance as long as you have the key in your
pocket.

Q. Did that portion of the video sound
accurate as it relates to your vehicle?

A. That you can open it - that you can
unlock it from a distance?

Q. Yes.

A. Oh, yes.

Q. And that the light would flash and it

would beep once?

A. Yes.

Q. All right. I'm going to play another
portion that relates to unlocking, and I'll
stop it in a moment and ask you another
question.

(The following transcribed from the
video that was played.)

FEMALE VOICE: To unlock the doors,
press the unlock button. The hazard warning
lights will flash, the driver's door will
unlock.

Press again within one minute to
unlock all doors and the rear hatch and the
hazard indicator flashes again once.

When the unlock button on the
intelligent key is pressed, all doors will
automatically relock within one minute unless
any door is opened or you push the power
switch.

If you are near your vehicle --
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BY MR. PADOLSKY:

Q. Did you hear that portion of the
video?

A. I did.

Q. That, for the record, was at 1:08 to

1:35 of the video.

Does that accurately describe the way
that your vehicle was when you pressed the
unlock switch?

A. I would say in the general vicinity,
but you also have to keep in mind that there
are different levels of this car.

You know, you have the one with full
- what do you call it - you have all - you have
it fully loaded, and you have some that are
basic.

Q. I get it. I'm just asking you if
what she just described, what the video just
described accurately describes the way that
your vehicle was when you pressed the unlock
switch?

A. That it makes noise?

Q. I'll play it again. Hold on.

A. Yes.

Q. Starting at 1:07, and I'm going to

stop it at 1:35 again.

(The following transcribed from the
video that was played.)

FEMALE VOICE: To unlock the doors,
press the unlock button. The hazard warning
lights will flash, the driver's door will
unlock.

Press again within one minute to
unlock all doors and the rear hatch and the
hazard indicator flashes again once.

When the unlock button on the
intelligent key is pressed, all doors will
automatically relock within one minute unless
any door is opened or you push the power
switch.

If you are near --

(End of video transcription.)

BY MR. PADOLSKY:
Q. Were you able to hear that portion of

the video?

A. Yes. I hear that portion of the
video. That is correct.
Q. Does that sound to be accurate in

terms of the way your Nissan LEAF unlocked when
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A. I would say, yes. But, you know,
again, my key was in my pocket, and, you know,
there is no - I've had the car for a while, and
it is - you know, when I unlock it, I go close
to the car and I open the door or do it from
the back.

Q. But that does - that's the way that
your Nissan - your 2015 Nissan LEAF unlocked
when you pressed the unlock button?

A. Yes. If you press the unlock button,
the light comes off like it did in the video,
and you hear that tiny sound that I was
referring to earlier.

And, you know, that was - you know, I
only - to be honest with you, you see all of
the you can lock it from 15 miles away. I was
just driving the car. That's it, man.

Q. I understand. I'm trying to - I'm

just trying to understand your memory, and I'm
trying to understand if this video helps to
understand the manner in which the key fob
works for the vehicle that you were driving at
the time.

A. Oh, okay. So there are two ways that
we typically unlock my car, okay. One, you go
and I will use the key fob and click it to
unlock.

The other was to have the key fob in
my pocket and just open the door. It unlocks
that way, too. You see what I mean?

So that is how I would typically open
it. You know, I know initially when I got the
car I was more into how it worked. But later I
just - it was just a car. I didn't pay too
much attention to all the --

Q. So your memory of July 7, 2016, was
that you used the unlock key fob button?

A. Yes, I did.

Q. And your memory is that you heard, I

think you just said, a tiny sound and some of
the lights?
A. Hear the chirp, you know, when you

turn it on goes ch like that. That's what I'm
referring to as sound, you know.

Q. Are you talking about the sound of
the doors actually unlocking?
A. Yes. The unlock sound that comes on

with the light. You know, when you unlock it
and you hear that ch and the light comes on.
That is what I am referring to.

Q. Hold on one second. I'm sorry. The
video that I just played, you would agree that
that - the voice on the video said when you
press the lock button there is a chirp that
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A. Yes. I hear what you're saying.
Q. When you press the unlock button,
it's just the blinking light and no chirp?
A. Yes. That's what the video said.

But my car, you know, I don't know how they
design my - I would be pretty much close to it
for it to work.

You know, the dealership told me one.
In real life it was a little different. You
know, any time I get a car they tend to play it
up more than - you know, of course, you know

how the dealerships are. The car doesn't
really fully to the design they tell you from
all the way to the range of the car. You know,
it is a typical advertisement for cars.

But with my case, you have to unlock
it from a distance of this feet. You've got to
get close to - initially it was like that.

But once it started getting over a
certain mileage, you have to get close to the
car.

It was not as initially as they say.
So on that day I had my key close to the car
like I explained to you, and I unlocked the

car.
Q. And when you unlocked it, was it as
described in that video that I just played
when --
A. The light came on and the chirp sound
was right there, yes.
Q. You have a memory of a chirp sound?
A. Yes. It always happened when I did
it.
Q. Okay. And you said when you unlocked

it your key was still inside of your pocket?

A. Yes.

Q. Okay. Are you back to seeing me now?

A. Yes. Now I can see you.

Q. How long in total was the interaction
that you had?

A. I would put it at - I would put it at
five minutes, but it seems longer.

Q. Did I hear you say "five minutes"?

A. Yes. When I was on the ground, yes.

But mind you, I wasn't really - I mean, if you
asked me for my memory, I would have tell you
it feels like forever. So I wasn't keeping

track of time. It just looks so long, you
know, so that's what I --
Q. I want to show you one other screen

here. Can you see the screen of the street of
Harvard Street?

A. Yes. That is correct.

Q. And for the record, this is the
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side of the screen at approximately a 30,
45-degree angle to the left is Harvard Court,
and the sign for Walgreens is approximately in
the center of the screen slightly off to the

right. Does that sound like an accurate
description to you?

A. Yes.

Q. And this area where my cursor is now
where there is a woman standing with what looks
to be a backpack on, that's Harvard Court,

correct?

A. Correct, yes. That's Harvard Court,
correct.

Q. Which tree were you standing at when
you were reading the news on your phone?

A. So, you see, I was mostly on the

street. When you move across the flowers - go
across.

Q. Over here?

A. Yes. Inside, yes. No, no, too far.
Q. Too far?

A.

Yes. So somewhere around there, yes,
that would have been where I was standing.
Close to that tree right there. On the other
side of the flower where you go inside of the
parking lot.

Q. Okay. I just want to - for the
record, there is a streetlight in the center of

the screen, correct, with an American flag on
the streetlight?

A. Yes. From the picture, yes. I can
see that from here.

Q. And there is a tall brick pillar with
a light on top of it, correct?

A. Yes, yes.

Q. And there is a tree behind that brick
pillar, correct?

A. Right.

Q. And to the left of that tree, there

is a tree that is approximately three to four
car lengths away. Do you see that?

A. Yes, yes. Okay. The one that you
have your cursor on, yes. I can see that.

Q. That tree is the tree that you recall
you were reading the news at on your phone?

A. Yes, yes. So it would have been

moving forward to - yes, somewhere around
there, yes.

Q. And you said you were against the
tree at the time?
A. No, no. I wasn't standing against

it. I was just standing. I was not leaning on

the tree. I was standing around there.
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A. Yes, near the tree. So the reason I
was Standing, it was sunny, so I was using the
tree shade to shade myself while I was under
the tree.

Q. Were you on the - there is a row of
bushes in front of the tree, correct?

A. Yes.

Q. From our vantage point right now?

A. Uh-huh.

Q. And then there is the Harvard Court

paved street, right? Oops, sorry. There is
the Harvard Court paved street, right?

A. Uh-huh, yes.

Q. And then on the other side of the
bush is a row of cars, and that is the
Walgreens parking lot, right?

A. Correct.

Q. Were you on - which side of the
bushes were you on?

A. On the side where you have the cars.

Q. On the side of the cars?

A. Yes. That side, yes.

Q. And were you standing on grass or the
sidewalk or what is the --

A. On that side you have --

Q. You were standing on grass?

A. No, no. Right outside of these

flowers right here. This. There is no grass
on the ground. It's all paved.

Q. It's all paved?

A, Yes. So I was standing on the
pavement, yes, at that time - at the time that
it happened.

Q. And your vehicle was - how far away
from your vehicle were you at the time that you
were standing?

A, So I would have been able to cross
from here.

Q. Looking at the image, if it helps,
are you able to estimate the distance in feet
you were away from your vehicle?

A. No, I can't, but it wasn't far. It
was just crossing that, you know, where I
identified my vehicle was earlier. I was

crossing over towards my vehicle. I wouldn't
say it was that far.

Q. I'm going to move this street view
for you for a second. Hold on a second.

So I guess that's the best I'm going
to get it here. So for the record I've moved
the Google street view a distance into Harvard
Court, and we're looking at the tree in the
center of the screen.

A. Yeah, yeah, I can see.
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A. Yes, standing close to, yes.

Q. And you were standing - was there a
car parked in front of that tree like there is
in this image?

A. No. There was no car there. Not
like this. So there was enough space there
that I was able to stand there.

Q. So you were on the parking lot side
standing underneath the shade of this tree that
we're looking at?

Right.

How long were you standing there for?
I really was not keeping time.

About how long?

My estimate, I would have said less

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than - it would have been less than ten
minutes, but I don't know the exact time, but I
didn't keep track.

Q. So less then ten minutes. Would you
say more than five minutes?
A. It could be between five and ten.

Because I was reading on my phone, so it could
be between five and ten.
Q. And then you said you went from - and
I'm moving the screen now, but you went from
that area.
I think what you described earlier is
your vehicle was parked somewhere off over

here?
A. Yeah. Around that block right there.
Q. And for the record, that is - if

we're looking at the Walgreens from Harvard
Court, that's the second row of vehicles,
correct?

A. So if we are counting by rows, it
would have been between not - it is not - it
would have been the third. It would have
been --

Q. The third --

A. So I'm looking at this row, right,
one, two, so it could have been third or fourth
could have been more accurate. My car would
have been there.

Q. Okay. Hold on. So hold on one
second. So if this is the first row. You see
where I'm pointing the cursor?

A. Yeah.

Q. Right? Here is your second row?
A. Right.

Q. Here is your third row --

A. Okay.

Q. -- where the red Jeep is.

A. Uh-huh.

QO. And the fourth row would be on the
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A. Right, right.

Q. Your memory is that your car was
parked in the third or fourth row?

A. Yes. It would have been there,
correct.

Q. So fair to say that you were - when

you were under the tree, you were at least -
let's see. At least, I don't know, five, ten

car lengths away from - somewhere around five
to ten car lengths away from your car?

A. Yes. It could be, but I wouldn't
know that.

Q. I'm sorry?

A. IT wouldn't know that looking at the
pictures. It could be. You know what I mean?

Q. That red Jeep, does that look to be
the area that your car was parked?

A. So my car would not be on that red
Jeep. My car would be on this side between -
yes. The second car that you have it on right
here. That one.

Q. Yes.

A. That one. It could have been one of
these two spots.

Q. Okay. So the area of the minivan
here, this tan minivan, does that sound about
right?

A. Yes, yes, that one or the one close
to it.

MR. PADOLSKY: Off the record fora
second.

(Discussion off the record.)

BY MR. PADOLSKY:

Q. So, Mr. Ebowe, I'm showing you a
picture - screenshotted picture of the
Walgreens parking lot from Harvard Court,
correct?

A. Yes.

Q. And on the right side of that picture

is depicted the tree that you were standing at
reading the news, correct?

A. Yes.

Q. Correct?

A. That is correct.

Q. And earlier in your testimony you

referenced that your vehicle was parked
somewhere in the vicinity of the tan minivan
that I'm hovering the cursor over right now,
correct?
A. Yes.
MR. PODALSKY: So at the conclusion
of the deposition, I'll forward a copy of this
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Exhibit 1 to this deposition. Agreed?

MR. AMES: Yes.

(Exhibit No. 1, Screenshot of
Google Map street view, to be
marked at the conclusion of the
deposition.)

MR. PADOLSKY: Okay. Just one
moment. Is it back on me?

MR. AMES: Yes.
BY MR. PADOLSKY:

Q. A few other questions, Mr. Ebowe, and
then I think I'll be done. You referenced or
you mentioned in your earlier testimony that
the officer's hand was on his gun, and that's
something that you have a memory of?

A. Yes.

Q. His gun was in his holster at the
time?

A. Right.

Q. It stayed in the holster the entire
time, correct?

A. Yes.

Q. You also said earlier that this -

something like this incident has never happened
to you before?

A. Oh, yes, it hasn't.

Q. And that that is - that this has
never happened to you anywhere?

A. Anywhere, including anywhere.

Q. You also said that you - when your

lawyer filed the complaint with the Brookline
Police Department, that your wife handled the
communications with the police department. Did
I hear that right?

A. Yes, she did. She was very helpful.

Q. And you don't have a good memory
sitting here of your interactions because of
that?

A. I just got feedbacks, and I read
what was in --

Q. Did you have any memory of personally
interacting with the police department?

A. No. I did not go to the police
department. I couldn't do it.

Q. What about phone calls or --

A. No.

Q. -- anything like that?

A. No. I just was too broken to deal
with the police at that time.

Q. So fair to say that you in the

process of this, of the investigation of your
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the Brookline Police Department?

A. No, I did not.

Q. You said also that your understanding
of Brookline prior to this incident was that it
was a very progressive environment?

A. Yes.
Q. Could you elaborate on that?
A. What I mean is Brookline is not an -

at least from my interaction with the town, it
was a neighborhood town politically - by my
understanding or my feeling was at least more
liberal.

And when I interact with people
there, they were very - when I say
"progressive," you know, what I'm talking about
is in terms of politically progressive, not
closed up.

And there was diversity in Brookline
to the extent that you have Boston College -

I'm sorry, Boston University campus around
there.

You know, and, you know, it is a lot
of students, a lot of different ethnicity
living in Brookline.

Just walking down the street you see
it. So that would be different if I was in an
area that is very secluded.

So that is what I meant is that it
was very progressive. A lot of students,
different ethnicity when you walk down the
street, and, you know, diversity present even -
you know, everything politically in Brookline
appears to be very progressive.

I'm talking about progressive in
terms of conservative and progressive. So that
is when I mean.

So as - to be blunt, as a minority in
Brookline, I did not feel excluded. You know,
I lived in Cambridge before.

I feel the same way when I was in
Cambridge, you see, because they were all
Similar. You know, you can see variety of
ethnicity in Brookline. That's what I mean

when I say "progressive."

Q. Thank you. And before the July
incident, you had never experienced anything
like the incident that occurred in July,

correct?

A. No. Absolutely. I have never
experienced anything like that.

Q. And you were working predominantly in
Brookline for eight years by that point, right?

A. Correct, yes.

Q. And did I hear you right you said
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A. Yes. I was totally shocked, yes.

Q. You also - Attorney Ames had asked
you specifically about, I think, a letter that
your attorney drafted, and specifically about
the names of Dwaign Tyndal, Juana Baez,
Demetrius Oviedo, and Deon Fincher.

And I think earlier you had said that
before reading that letter and having
discussions with your attorney, you were
unaware of those incidents?

A. That is correct.

Q. And that it was shocking for you to

have read those as well?
A. Yes.

MR. PADOLSKY: Okay. Give mea
moment. I don't think I have any other
questions for you.

That's all I have. Thank you, sir.

MR. AMES: Thank you very much, Mr.
Ebowe.

MR. DOWNEY: Thank you very much.

THE COURT REPORTER: Attorney
Downey, do you want a transcript?

MR. DOWNEY: Yes, please.

THE COURT REPORTER: E-mail PDF or
did you want a hard copy?

MR. DOWNEY: E-mail PDF is fine.

THE COURT REPORTER: Mr. Padolsky,
do you want a transcript?

MR. PADOLSKY: We represent the
same defendants.

THE COURT REPORTER: Attorney Ames,
do you have a standing order?

MR. AMES: Yes.

(Whereupon at 1:20 p.m. the
deposition concluded.)

(Exhibit No. 1, Screenshot of
Google Map street view officially
marked.)
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CERTIFICATE

COMMONWEALTH OF MASSACHUSETTS
COUNTY OF MIDDLESEX, ss.

I, Shannon M. Crowley, Registered
Professional Reporter and Notary Public in and
for the Commonwealth of Massachusetts, do
hereby certify that the foregoing transcript of
the deposition of Isa Ebowe, having been duly
sworn on April 17, 2020, is true and accurate
to the best of my knowledge, skill, and
ability.

In witness whereof, I have hereunto set
my hand and seal this 23rd, day of April, 2020.

 

Shannon M. Crowley, RPR, CSR
Notary Public

My commission expires: March 2, 2023

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I have read the foregoing transcript of
my deposition and except for any corrections or
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transcript as an accurate record of the
statements made by me.

 

ISA EBOWE DATE
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